Case: 1:14-cv-04664 Document #: 176 Filed: 03/13/18 Page 1 of 1 PageID #:5289

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Federal National Mortgage Association
                                             Plaintiff,
v.                                                          Case No.: 1:14−cv−04664
                                                            Honorable Andrea R. Wood
George L. Obradovich, et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, March 13, 2018:


        MINUTE entry before the Honorable Andrea R. Wood: Status hearing held. In
light of the settlement conference set for 5/2/2018 with the Magistrate Judge, the pending
motions for summary judgment [125], [157], [160], are denied without prejudice. If the
settlement conference is unsuccessful, any party may move to reinstate its motion and/or
resume briefing within 28 days of the cessation of settlement discussions. Pursuant to the
discussion held in open court, the status hearing is continued to 5/15/2018 at 9:00 AM.
(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
